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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF ILLINOIS

 Lennisha Reed et al.,

                         Plaintiffs,
                                                    Case No. 3:20-cv-01139-SPM
                         v.
                                                    Judge Stephen P. McGlynn
 Wexford Health Sources, Inc., et al.,

                         Defendants.


                                PLAINTIFFS’ MOTION FOR
                              EXTENSION OF CASE DEADLINES

       Plaintiffs Lennisha Reed and Lenn Reed, Jr., through their counsel, hereby move the

Court to modify the scheduling order adopted by the Court on June 2, 2022 (Doc. 62) to extend

the deadline to disclose expert witnesses by three months, from July 22, 2022, to October 22,

2022, and the other deadlines in this case by corresponding amounts. Plaintiffs have consulted

with counsel for the Wexford Defendants, who oppose this motion and have indicated that they

intend to file a response to this motion. In support of their motion, Plaintiffs state:

                                           DISCUSSION

       This case arises from the death of Lenn Reed Sr. Mr. Reed was a prisoner in the Illinois

Department of Corrections. His medical records show that he repeatedly went to the prison

infirmary and explained that he was suffering from abdominal pain, but instead of trying to

diagnose the cause of this pain, prison medical staff, who are employed by defendant Wexford,

repeatedly sent him away with laxatives or similar “remedies” instead. Eventually, after Mr.

Reed had lost more than 50 pounds, Wexford medical staff finally sent him out for diagnosis,

which confirmed that he had a progressive cancer. Then, however, Wexford staff proceeded in

an unhurried manner despite efforts of his outside doctors to secure treatment for him. The result
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was that Mr. Reed died of cancer without ever even receiving chemotherapy. Plaintiffs, who

administer Mr. Reed’s estate, sued several of Mr. Reed’s treatment providers, asserting that they

were deliberately indifferent to his medical needs. They also sued Wexford pursuant to Monell

v. Department of Social Services, 436 U.S. 658 (1978), charging that the company had a

widespread practice of providing inadequate medical care, particularly with respect to its

detection of and care for patients with cancer.

       On March 22, 2022, Plaintiffs filed a motion for extension of time to complete fact

discovery in this case. See Doc. 56. In that motion, Plaintiffs explained that although they had

initiated Monell discovery in April 2021, they had been unable to gather any Monell discovery

since then because of Wexford’s plenary resistance to it. Specifically:

   •   Plaintiffs explained that Wexford had objected to the entry of a HIPAA protective order
       that would permit Plaintiffs to gather medical information about other Wexford patients,
       which is a necessary component of virtually every Monell case. ECF 56 at 2-3.

   •   Then, once this Court issued a HIPAA-qualified protective order over Wexford’s
       objection, Wexford claimed to be unable to respond to Plaintiff’s Monell discovery
       because it lacked information about other patients from the Lippert reports. Id. at 3. To
       gather the information Wexford claimed it needed, Plaintiffs intervened in the Lippert
       case itself—a move to which Wexford vigorously objected as well. Id. at 3-4.

   •   Once the Lippert court granted Plaintiffs’ motion over Wexford’s objection, see id. at 4,
       Plaintiffs subpoenaed the IDOC for the medical records of other patients identified in the
       Lippert reports. Id. In January 2022, when the IDOC refused to respond, Plaintiffs filed
       a motion to compel with this Court—to which Wexford intervened and responded in
       opposition. Id. at 5.

   •   Meanwhile, beginning in December 2021, Wexford’s counsel shut down Plaintiff’s Rule
       37 enforcement efforts regarding Wexford’s Monell discovery responses, on the grounds
       that two paragraphs in Plaintiffs’ complaint were inaccurate—but never identifying what
       documents supported its contentions, despite Plaintiffs’ request that it do so. Id. at 6.

In their March 2022 motion, Plaintiffs explained that because of these barriers, Plaintiffs had

been unable to make meaningful progress on fact discovery, and requested an extension of

discovery.


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       On May 18, 2022, the Court granted Plaintiffs’ motion for and extension and ordered the

parties to submit a joint scheduling order, and set the time for disclosure of expert witnesses as

July 22, 2022. Doc. 60. Since that time, Plaintiffs have experienced some temporary, yet

significant, administrative challenges over the past months due to firm staff shortages, which

have impacted Plaintiffs’ counsel’s ability to prosecute discovery in this case. In particular, the

leader of Plaintiffs’ prisoner rights practice group abruptly departing the firm, creating a

significant, though temporary, staffing problems as the firm has needed to shift resources and

deal with the departure administratively. To continue prosecuting discovery in this and other

cases, Plaintiffs’ firm has hired two experienced contract attorneys and put them on this case.

Those attorneys have been able to resume an aggressive deposition schedule, and have either

conducted or have scheduled eight depositions between the last week of June and the first week

of August. These depositions cover the bulk of witnesses who provided medical care to Mr.

Reed. In addition, Plaintiffs have also made themselves available to be deposed.

       In short, despite some headwinds Plaintiffs have been diligent in prosecuting discovery.

While discovery regarding Plaintiff’s immediate care is being completed, however, Plaintiffs’

Monell discovery remains to be taken. The core of Plaintiffs’ Monell discovery—Plaintiffs’

motion to enforce their subpoena to the IDOC, see Doc. 44—remains under advisement.

Plaintiffs will also move forward with discovery enforcement against Wexford now that

Wexford’s objection to the allegations in Plaintiff’s complaint have been resolved with the filing

of a new complaint, ECF 63. But fundamentally, because of Wexford’s resistance to any Monell

discovery summarized supra—even discovery targeted at third parties like the IDOC and the

Uptown People’s Law Center (in the ancillary Lippert litigation, see Doc. 56 at 4)—Plaintiffs

require more time to complete their Monell discovery in this case.




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       Plaintiffs’ counsel contacted Wexford’s counsel and asked for an extension. Wexford’s

counsel objected, claiming that Plaintiffs had been dilatory in conducting depositions, since

Plaintiffs’ fact depositions started the last week of June. The depositions started then, however,

due to the temporary staffing problem Plaintiffs describe above, which Plaintiffs’ counsel fixed

by hiring two contract attorneys. Wexford’s counsel also objects on grounds that this case has

no merit. But defendants always say that, and Wexford makes that claim as the fact depositions

of Mr. Reed’s treaters are underway. Plaintiffs should be allowed to complete their discovery.

       Plaintiffs intend to continue moving forward with Monell enforcement. But, Plaintiffs

should not penalized because Wexford has aggressively resisted their Monell discovery. In light

of the foregoing, Plaintiffs respectfully submit that there is good cause for the Court extend the

current deadlines to give the parties enough time to complete fact witness depositions and

continue Monell discovery before providing expert reports, with the following schedule:

       1. Expert witnesses shall be disclosed, along with a written report prepared and signed
          by the witness pursuant to Federal Rule of Civil Procedure 26(a)(2), as follows:

               a. Plaintiff’s expert(s): October 21, 2022.

               b. Defendant’s expert(s): December 23, 2022.

               c. Third Party expert(s): N/A.

       2. Depositions of expert witnesses must be taken by:

               a. Plaintiff’s expert(s): November 11, 2022.

               b. Defendant’s expert(s): January 13, 2022.

               c. Third Party expert(s): N/A.

       3. Discovery shall be completed by January 13, 2022.

       4. All dispositive motions shall be filed by February 14, 2022.

No party will be prejudiced by these extensions.



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       WHEREFORE, for the reasons set forth herein, Plaintiffs respectfully request that the

Court extend the deadline for the submission of Plaintiff’s expert reports from July 22, 2022, to

October 22, 2022, and all other deadlines by a corresponding amount.



Dated: July 22, 2022                         Respectfully submitted,


                                                     /s/ Stephen H. Weil
                                                     Stephen H. Weil
                                                     Counsel for Plaintiffs
Jon Loevy
Steve Weil
Alison Bitterly
Michael Falconer
LOEVY & LOEVY
311 North Aberdeen St., 3rd Fl.
Chicago, IL 60607
(312) 243-5900
weil@loevy.com




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